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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ANDREW SCHWARTZBERG,

                                         Plaintiff,
                                                                         NOTICE OF MOTION FOR
         against                                                          DEFAULT JUDGMENT

 CHET MINING CO, LLC and CHET STOJANOVICH,
                                                                        Civ. Action No.: 1:20-CV-01880
                                         Defendants.


        PLEASE TAKE NOTICE, that the plaintiff, by and through its undersigned attorney, will

move this Court for an Order granting the relief described below, at the time and place set forth below:

       Moving Party:           Plaintiff Andrew Schwartzberg

       Motion Directed To:     Defendants Chet Mining Co., LLC and Chet Stojanovich

       Motion Date:            _________________________, at the Daniel Patrick Moynihan United
                               States Courthouse, 500 Pearl Street, New York, N.Y. 10007-1312.

       Relief Sought:          A default judgment against all defendants, jointly and severally,
                               pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure and
                               Local Rule 55.2(b) of this Court.

       Supporting Papers:      The papers offered in support of the motion are: (i) the Attorney
                               Affirmation of Benjamin F. Neidl dated May 27, 2020 with Exhibits;
                               (ii) the Declaration of Andrew Schwartzberg dated May 22, 2020 with
                               Exhibits; (iii) the plaintiff’s Statement of Damages; (iv) the plaintiff’s
                               Bill of Costs; and (v) the plaintiff’s proposed Default Judgment

       PLEASE TAKE FURTHER NOTICE, that the defendants must file their opposition

papers (if any) with the Court and serve them upon the undersigned not less than ___________

days prior to the above-listed Motion Date. The plaintiff intends to serve and file reply papers.




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Dated: Troy, New York
       May 27, 2020
                                   Respectfully submitted,

                                   E. STEWART JONES HACKER MURPHY LLP




                                   By:    Benjamin F. Neidl
                                   Attorneys for the Plaintiff
                                   28 Second Street
                                   Troy, N.Y. 12180
                                   (518)274-5820




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